        Case 1:24-cv-00027-LAG         Document 7       Filed 02/20/24    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA
                                ALBANY DIVISION

 SAFER HUMAN MEDICINE, INC.,                       )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )
                                                   ) Civil Action File No.
 DECATUR COUNTY-BAINBRIDGE                         ) 1:24-CV-00027-LAG
 INDUSTRIAL DEVELOPMENT                            )
 AUTHORITY,                                        )
                                                   )
                       Defendant.                  )
                                                   )

                               ACCEPTANCE OF SERVICE

       I, the undersigned, as Attorney for the Decatur County-Bainbridge Industrial Development

Authority, having been duly authorized to do so by the same, acknowledge service of a copy of

the Verified Complaint in the captioned action on February 16, 2024.


                                               KING KOZLAREK ROOT LAW LLC
                                               Counsel for Decatur County-Bainbridge
                                               Industrial Development Authority

                                               /s/ Michael E. Kozlarek
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February 20, 2024
